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                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                        MIAMI DIVISION

                                          Case No. 1:17-CV-20018-GAYLES/TURNOFF

      DAVID JIA,

                   Plaintiff,
      v.

      UNIVERSITY OF MIAMI, a not-for-profit
      Corporation; ANGELA CAMERON;
      KATHERINE WESTAWAY, in her official
      and individual capacities; and WILLIAM
      ANTHONY LAKE, in his official and individual
      capacities,
             Defendants.
      _________________________________________/

      PLAINTIFFS’ DAVID JIA’S OPPOSITION TO DEFENDANT, UNIVERSITY OF
                     MIAMI THIRD MOTION TO DISMISS AMENDED COMPLAINT


                   COMES NOW, the Plaintiff, DAVID JIA (“Jia”), by and through their
      undersigned counsel hereby submits this memorandum of law in opposition to the
      Defendant, UNIVERSITY OF MIAMI (“University”) Fed. R. Civ. P. 12(b)(6) Second
      Motion to Dismiss Third Amended Complaint1 (“Motion to Dismiss”). In support of said
      response the Plaintiff hereby state as follows:
                                                                 INTRODUCTION
                   The third amended complaint was drafted in accordance with the Court’s
      direction at the last hearing on defendants second motion to dismiss and with several
      cases on point the Plaintiff has met his burden of the pleading standard for purposes of a
      motion to dismiss.                       The incorporation of 150 allegations into every count and the
      inclusion of many exhibits does not amount to a shot gun complaint. The Plaintiff argued
      in its last response to Westaway’s Supplemental Second Motion to Dismiss against the

      																																																								
      1	As
         a result of clerical error, the Plaintiff erroneously title its pleading “Plaintiff Third Amended
      Complaint” when in fact it is Defendants Third Motion to Dismiss and Plaintiff’s Second Amended
      Complaint.


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      allegation of a shot gun complaint. Interestingly, the Defendant, University raises this
      issue of shot gun complaint for the first time. The Plaintiff’s re-alleging of paragraph 12-
      165 (general allegations) at the beginning of each count is not a shotgun pleading.
      Weiland v. Palm Beach County Sheriff's Office, 792 F.3d 1313, 2015 U.S. App. LEXIS
      11750, 92 Fed. R. Serv. 3d (Callaghan) 378, 25 Fla. L. Weekly Fed. C 1366.       Again, the
      Defendants attempt to paint the Plaintiff’s factual allegations as long, salacious,
      intentionally sensational, and demonstrably false. These headlines are better suited for
      the trier of fact.   These allegations read more of tragic failure of a University’s
      obligations to protect its students and treat them fairly and without bias. It’s not
      uncommon for Complaints of this nature to exceed 100 pages, for Defendants to file a
      Motion to Dismiss and for the Court to Deny such Motion to Dismiss. See Monic
      Ainhorn Morrison v. University Miami et. al., Case No. 1:15-cv-23856; See also
      Omnibus Order on Motion to Dismiss Id. at (R-47).             UNIVERSITY, through an
      inconspicuous mention in foot note 2, Pouyeh v. Bascom Palmer Eye Inst., 613 Fed.
      Appx 802, 808 (11th Cir. 2015) disingenuously leads this Court to believe it can review
      an entire exhibit not included in the Third Amended Complaint (the entire student
      handbook) to argue their case. Defendant is attempting to argue for Summary Judgment
      in a Motion to Dismiss. A judge generally may not consider materials outside of the four
      corners of a complaint without first converting the motion to dismiss into a motion for
      summary judgment. Day v. Taylor, 400 F.3d 1272, 1275-76 (11th Cir. 2005). The Court
      should disregard or strike all of the Defendants arguments involving the entire student
      handbook and the investigative report not included in the Plaintiff’s Complaint.
      UNIVERSITY attempts to argue Summary Judgment issue in foot note 5, where they
      point out inaccuracies in the Plaintiffs’ facts. Unless, this Court converts this Motion to
      Dismiss to a Summary Judgment those argument should be disregarded or stricken from
      the record. The Defendant fancifully attaches a self-serving investigate report not a part
      of the Plaintiff’s Complaint by asserting the Court may consider these attachments
      because the Plaintiff referenced his internal Title IX investigation in the complaint.
      Court’s decline to consider exhibits outside the Plaintiff’s complaint if the Plaintiff does
      not refer to certain documents in the complaint. Franza v. Royal Caribbean Cruises,
      Ltd., 772 F.3d 1225, 2014 U.S. App. LEXIS 21375, 2014 AMC 2710, 25 Fla. L. Weekly



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      Fed. C 591.     The Plaintiff refers to the investigation conducted by Lake but does
      specifically refer the investigative report as such this report should be disregarded or
      stricken from the record. Defendant cannot manipulate case law in order to argue a
      Summary Judgment at a Motion to Dismiss stage.
              Defendant’s attempts to cherry pick facts (“relevant”) in arguing their Motion to
      Dismiss, creates exhibits to attach to its Motion to Dismiss in order to avoid a Motion for
      Summary Judgment and manipulate case law to argue a Summary Judgment at a Motion
      to Dismiss stage. Many of the defendant’s arguments are, at their core, disguised attempts
      to argue the merits of the case, which is improper at this stage of the proceedings and
      their tactics are questionable. The remaining arguments lack sufficient support in law and
      fact. The Plaintiff will argue herein that accepting all factual allegations of the plaintiff as
      true, construing the allegations in the light most favorable to the Plaintiff, the Plaintiff has
      satisfied his obligation of pleading a basis for relief on all counts that is not speculative.
      Therefore, Defendants Motion to Dismiss should be denied.
                             STANDARD ON A MOTION TO DISMISS
              The threshold for surviving a motion to dismiss for failure to state a claim under
      Federal Rules of Civil Procedure 12(b)(6) is a low one. Connors v. Orlando Regional
      Healthcare System, Inc., 2009 WL 2524568, at 1 (M.D. Fla. 2009). The Court should
      accept the factual allegations of the plaintiff's complaint as true, construe the allegations
      in the light most favorable to the plaintiff, and view the allegations to determine whether
      the plaintiff has satisfied his obligation of pleading a basis of relief that is not speculative.
      Id., citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). A plaintiff is
      required to allege “more than labels and conclusions, and a formulaic recitation of the
      elements of a cause of action will not do.” Id.
              The relevant question for a district court in assessing plausibility is whether “the
      complaint warrant[s] dismissal because it failed in toto to render plaintiffs’ entitlement to
      relief plausible.” Twombly, 550 U.S. 544, 569 n. 14 (2008). See Braden v. Wal–Mart
      Stores, Inc., 588 F.3d 585, 594 (8th Cir.2009) (explaining that “the complaint should be
      read as a whole, not parsed piece by piece to determine whether each allegation, in
      isolation, is plausible”); Ocasio Hernandez v. Fortuno-Burset, 640 F.3d 1, 14-15 (1st Cir.
      2011). Further, a Court is to consider a motion to dismiss in terms of the plaintiff’s actual



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      pleadings, and not in terms of a defendant’s Case 1:17-cv-200018-DPG Document 127
      Filed 03/12/2018 Page 3 to 8 of 22 selective characterization of the facts. See Armstrong
      Pharm., Inc. v. Micron Technologies, Inc., No. CIV. A 09-11197-RWZ, 2010 WL
      745057, at *2 (D. Mass. 2010); Hudson v. Dr. Michael J. O’Connell’s Pain Care Ctr.,
      Inc., 822 F. Supp. 2d 84, 93 (D.N.H. 2011). Accepting all factual allegations in the
      Amended Complaint as true, JIA has certainly pleaded facts sufficient to establish
      plausible claims for relief under federal and state law.
                                             ARGUMENT
          I.      THE COMPLAINT IS NOT A SHOTGUN PLEADING
               The Plaintiff’s re-alleging of paragraph 12-165 (general allegations) at the
      beginning of each count is not a shotgun pleading. Weiland v. Palm Beach County
      Sheriff's Office, 792 F.3d 1313, 2015 U.S. App. LEXIS 11750, 92 Fed. R. Serv. 3d
      (Callaghan) 378, 25 Fla. L. Weekly Fed. C 1366.            The Court has condemned the
      incorporation of preceding paragraphs where a complaint "contains several counts,
      predecessors [i.e., predecessor counts], leading to a situation where most of
      the counts (i.e., all but the first) contain irrelevant factual allegations and legal
      conclusions." Strategic Income Fund, 305 F.3d at 1295; see also Magluta v. Samples, 256
      F.3d 1282, 1284 (11th Cir. 2001) (identifying a complaint as a shotgun pleading where
      "[e]ach count incorporates by reference the allegations made in a section entitled 'General
      Factual Allegations' — which comprise[d] 146 numbered paragraphs — while also
      incorporating the allegations of any count or counts that precede[d] it."). What we have
      here in this case and the Weiland case is different. The allegations of each count are not
      rolled into every successive count on down the line. Thus, the subject complaint is not a
      shotgun pleading.
               More importantly, this is not a situation where a failure to more precisely parcel
      out and identify the fact relevant to each claim materially increased the burden of
      understanding the factual allegations underlying each count, otherwise the defendant did
      not move for a more definite statement under the Federal Rules of Civil Procedure 12(e).
      Id. at 1325. The Plaintiff, in additional to the re-alleging of the general allegations,
      bolstered its allegations in each count by alleging specific facts relevant to each
      allegation which the Plaintiff will address below. Johnson Enters. of Jacksonville v. Fpl



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      Group, 162 F.3d 1290, 1998 U.S. App. LEXIS 31647, 37 U.C.C. Rep. Serv. 2d
      (Callaghan) 244


          II.       PLAINTIFF HAS STATED A CAUSE OF ACTION FOR BREACH OF
                    CONTRACT AGAINST THE UNIVERSITY


                Remarkably, the Defendant took no issue with the Plaintiff’s Breach of Contract
      cause of action in its last Motion to Dismiss. Now the Defendant seeks to dismiss this
      cause of action by attempting to admit the entire University School Handbook and argue
      that the Defendant complied fully with all duties set forth in the Handbook (the operative
      contract).
                No doubt that student-university relationship is contractual in nature and that the
      terms of the contract may be derived not only from student handbook, but catalog, or
      other statement of university policy. See, e.g. Ross v. Creighton Univ., 957 F.2d 410 (7th
      Cir. 1992); Doherty v. Southern College of Optometry, 862 F.2d 570 (6th Cir.
      1988); Corso v. Creighton Univ., 731 F.2d 529 (8th Cir. 1984); Mahavongsanan v. Hall,
      529 F.2d 448 (5th Cir. 1976); Abbariao v. Hamline Univ. Sch. of Law, 258 N.W.2d 108
      (Minn. 1977); Bleicher v. University of Cincinnati College of Med., 78 Ohio App. 3d 302,
      604 N.E.2d 783 (Ohio Ct. App. 1992); University of Texas Health Science Ctr. at
      Houston v. Babb, 646 S.W.2d 502 (Tex. Ct. App. 1982).
                Plaintiff’s Title IX claim factually overlap with his breach of contract and/or tort
      claims based on the University’s failure to comply with university polices. Court often
      reject attempts to dismiss these claims. See e.g. Doe v. Brandeis., No. 15-11557, 2016
      U.S. Dist. Lexis 43499, (d. Mass. Mar. 31, 2016); Doe v. Middlebury Coll., No. 1:15-cv-
      192, 2015 U.S. Dist. Lexis 124540 (D. Vt. Sept. 16, 2015). The Court in Bradeis noted a
      university’s:
                “Authority to discipline its students is not entirely without limits… the
                university’s disciplinary actions may be reviewed by the courts to
                determine whether it provided ‘basic fairness’ to the student. While that
                concept is not well-defined, and no doubt varies with the magnitude of
                interests at stake, it is nonetheless clear that the university must provide its



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             students with some minimum level of fair play. Brandeis Univ., 2016
             U.S. Dist. Lexis 43499.

             The Plaintiff alleges UNIVERSITY’s sexual assault policies attempt to redefine
      rape by proposing social rules on the conditions that might not constitute consent.
      Minority age, mental capacity, force restraint or unconsciousness, are valid grounds for
      charging students with sexual assault/battery (rape). UNIVERSITY appropriately
      prohibits these behaviors in their policies, but it doesn’t stop there. Instead,
      UNIVERSITY attempts to redefine rape (and other sexual misconduct) as “consent”
      outside the commonly understood social norms. ¶ 116 UNIVERSITY’s attempt to
      redefine rape (and sexual misconduct) as sex after drinking alcohol, is overly broad,
      nonsensical, and unenforceable in a college environment. Rape is not synonymous with
      diminished capacity when consenting to sex. ¶ 117 Because university administrators
      believed that CAMERON was influenced to some degree by alcohol when she solicited
      sex from JIA, they found him responsible for her behavior. No UNIVERSITY policy
      addresses the sobriety level of the person requesting sex. The UNIVERSITY policies
      only address the sobriety of the person giving the consent. In this case the consenting
      party is JIA, not CAMERON. Its not possible for people who ask their partners for sex
      can claim that they not consent to the sex they requested. ¶ 119 Upon information and
      belief, the UNIVERSITY has never absolved a male student of sexual misconduct
      because he pleaded diminished capacity. Yet, UNIVERSITY claimed that CAMERON
      cannot be held accountable for initiating sex because of what she reported as diminished
      capacity.   This double standard treats women and men differently.      ¶ 120     Upon
      information and belief, the UNIVERSITY has never found a female student in violation
      of sexual misconduct for failure to obtain consent from a male who was intoxicated. ¶
      121 UNIVERSITY demonstrated gender bias by assuming that JIA needed to gain
      CAMERON’s consent for sex despite evidence showing that she is one who asked to
      have sex. The credibility of CAMERON’s complaint and motivation was not a close call,
      it was strikingly obvious. Yet UNIVERSITY immediately assumed that as a male, JIA
      was the person that controlled the sexual engagement. ¶ 123 For the UNIVERSITY to
      assume that women do not initiate sexual intercourse, cannot be the sexual aggressors



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      during intercourse, and that men must therefore seek the permission of women even when
      women initiate sex, shows unequal treatment and gender bias. ¶ 124 By infantilizing
      women and ignoring that both men and women can initiate and agree to sex,
      UNIVERSITY is treating men and women unequally. This gender bias is evident in the
      UNIVERSITY’s policies, the application of those policies in student conduct hearing for
      sexual misconduct and in the “rape culture” programs it supports. ¶ 125 UNIVERSITY
      was aware of how JIA was being castigated by WESTAWAY and CAMERON. They
      knew how unfair and untrue the stories were how this information was being used to not
      only destroy JIA’s life, but also harm the chances of men accused of sexual assault or
      rape, innocent or not, from having impartial adjudication of those charges and a fair
      outcome. Nevertheless, UNIVERSITY stood by and took no action to correct these
      injustices. They allowed the mischaracterization of JIA that fed the narrative that males
      are sexual predators. ¶ 127 The policy provision for a one-person panel and not three is
      flawed and violation of due process by allowing one potentially bias person to determine
      the violations of UNIVERSITY policy. ¶ 88

             Brandeis manifests a court’ willingness to look behind the curtains of university
      policies to determine if the university’s adjudication of sexual misconduct allegations are
      implemented with fairness towards the accused.
             This Court must do the same, its not bound by the UNIVERSITY’s attempt to
      compartmentalize the breach of the contract to the Student Handbook, but this Court must
      be willing to look behind the curtains of the UNIVERSITY’s policies. This practice is
      supported by the First Circuits Cloud decision which determined school disciplinary
      hearings must be “conducted with the basic fairness.” Cloud v. Trustees of Boston Univ.,
      720 F. 2d 721, 725 (1st Cir. 1983).
             In order for a breach of contract claim to survive a Fed. R. Civ. P.
      12(b)(6) motion, a plaintiff in a case must plead the elements of a breach of contract as
      established by the applicable state's laws, in this case Florida law. Merrill Lynch Bus.
      Fin. Servs. v. Performance Mach. Sys. U.S.A., 2005 U.S. Dist. LEXIS 7309, 18 Fla. L.
      Weekly Fed. D 489. The elements of a breach of contract action are: (1) a valid contract;
      (2) a material breach; and (3) damages." Schiffman v. Schiffman, 47 So. 3d 925, 927 (Fla.



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      3d DCA 2010) (quoting Abbott Labs., Inc. v. Gen. Elec. Capital, 765 So. 2d 737, 740
      (Fla. 5th DCA 2000)).
             The Plaintiff alleges in its complaint the University had a contractual duty to the
      Plaintiff as set out in the Student Rights & Responsibilities Handbook. Students have the
      right to (1) be treated equally in academic and social settings, (2) the right to live and/or
      attend classes in a physically safe environment, (3) the right to express diverse opinions
      in an intellectually safe environment, (4) the right to privacy, (5) the expectation of a
      positive living/learning environment, amongst others.
             The Plaintiff alleges that the University breached express and/or implied
      agreements with Jia and damages.           The Plaintiff realleges and incorporates the
      aforementioned allegations. This is all that is required under Florida law.
             The Plaintiff’s re-alleging of paragraph 12-165 in its breach of contract action
      (general allegations) at the beginning of the count is enough to put the Defendant of
      notice of the cause of action. The allegations in paragraph 12 to 34 are necessary to show
      the various pressures on the University Administrators, Dean Lake and Dean Preiepke.
      Allegations 35 to 46 are necessary to show the nature of the actions and the actors
      involved in their official capacity as employees. The allegations in paragraph 47 – 166
      shows how Jia was treated unfairly and with bias through the title IX investigation,
      hearing, after the hearing, up to and after his graduation day. The allegations show how
      the UNIVERSITY did nothing to protect JIA when he was being called a rapist and a
      batterer, how he was railroaded with little testimony against him and two witnesses in his
      defense.   Because UNIVERSITY’s alleges it complied with the Student Handbook
      doesn’t mean its policies and the application of those policies are unfair or bias to JIA. It
      is up to this Court to pull back the curtain of the Universities policy to determine if the
      university’s adjudication of sexual misconduct allegations is implemented with fairness
      towards JIA.


      III.   COUNT II STATES A CAUSE OF ACTION FOR VIOLATION OF
             TITLE IX AGAINST THE UNIVERSITY
             UNIVERSITY	argues	the	Plaintiff	has	failed	to	plead	any	facts	to	support	the	
      element	that	the	UNIVERSITY	receives	federal	assistance	and	that	its	insufficient	to	



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      allege,	 upon	 information	 and	 belief,	 that	 the	 UNIVERSITY	 receives	 federal	 funding.		
      To	be	clear,	the	Plaintiff	alleges	“Upon	information	and	belief,	UNIVERSITY	receives	
      federal	 funding	 in	 the	 form	 of	 federal	 grants	 from	 numerous	 federal	 sources,	
      including,	 without	 limitation,	 Department	 of	 Education,	 Environmental	 Protection	
      Agency,	National	Endowment	for	the	Arts	and	National	Science	Foundation.”		

               It is well-settled that “[p]leading ‘upon information and belief’ is sufficient to
      satisfy federal notice pleading under Fed.R.Civ.P. 8(a).” Elektra Enter. Group v.
      Santangelo, 2005 U.S. Dist. LEXIS 30388, at *7 (S.D.N.Y. Nov. 28, 2005), quoting
      Steinbrecher v. Oswego Police Officer Dickey, 138 F.Supp.2d 1103, 1109-1110 (N.D. Ill.
      2001).
               In opposition, the Defendant asserts that alleging upon information and belief in a
      Title IX context in not sufficient. Burch v. Young Harris Coll., No 2:13-CV-WCO, 2013
      WL 11319423, at 6 (N.D. Ga. Oct. 9, 2013). In Burch, the Court focused on the general
      allegations of constructive notice. The Plaintiff in that case did not allege any time at
      which defendant was put on notice of the alleged widespread hazing prior to a report.
      The Plaintiff’s assertion that “it is hard to imagine that….some appropriate person would
      not be aware” of such widespread hazing was not sufficient. Id. at 19. In the present
      case, the Plaintiff fulfilled his burden of pleading by Alleging “upon information and
      belief UNIVERSITY receives federal funding in the form of federal grants from
      numerous federal sources, including, without limitation, Department of Education,
      Environmental Protection Agency, National Endowment for the Arts and National
      Science Foundation.” See Grant Neal v. Colorado State University-Pueblo, et al. Case
      1:16-cv-00873-RM-CBS Document 87 (U.S.D.C. Colo. Sept 11, 2017) (Where the
      Plaintiff’s complaint alleging “upon information and belief” survived motion to dismiss)
               Moreover, a plaintiff suing Brown University defeated a motion to dismiss Title
      IX claims by alleging, “upon information and belief” Doe v. Brown Univ., No 15-144,
      2016 US. Dist. Lexis 21027, 27 (D.R.I Feb 22, 2016). It should be noted Brown is not
      alone in finding male Title IX plaintiffs can establish gender-bias via “information and
      belief” allegations. Four district courts in Salisbury, Prasad and Ritter cited “information
      and belief” allegations as a basis for rejecting motions to dismiss Title IX claims. See eg.,



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      Doe v. Salisbury University, Civil No. JKB-15-517, 2015 U.S. Dist. LEXIS 110772, 41
      (Aug. 21, 2015) (finding alleging gender-bias “based solely ‘upon information and
      belief,’ is a permissible…..even after Twombly and Iqbal decisions….”); Prasad v.
      Cornell Univ., U.S. Dist. Court of N. Dist. Of N.Y., No. 5:15-cv-322 ( Feb. 24, 2016)
      which rejected a motion to dismiss a Title IX claim filed by a male student which was
      based in part on “information and belief” allegations); Ritter v. Oklahoma, no.16-0438
      (U.S. W.D. Ok May 6, 2016) (which granted a temporary restraining order in part
      because plaintiff established Title IX claims based on “information and belief”
      allegations).
             The Plaintiff’s “gravamen” of is complaint goes well beyond allegation based on
      pressure from the government, a flawed or irregular investigation and the fact that the
      Plaintiff is male. The Defendant, citing to the pleading standards of Twombly and Iqbal,
      contend that Jia’s Title IX claim must fail because procedural missteps that happen to
      disadvantage a male student in favor of a female student do not, standing alone, support
      the plausible inference that those missteps occurred because of the accused students
      gender. Doe v. Lynn Univ. Inc., 224 F. Supp. 3d 1288, 1290 (S.D. Fla. 2016) See
      Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, at 15 (“Motion to
      Dismiss”). Critical examination of the allegations as a whole and controlling Title IX
      standards lead unequivocally to the contrary conclusion, that the Amended Complaint
      does sufficiently state a Title IX claim.
             A. The Controlling Title IX Standard.
             Title IX bars the imposition of university discipline where gender is a motivating
      factor in the decision. In Yusuf v. Vassar College, 35 F.3d at 715, the Second Circuit held
      that a plaintiff’s challenge to a university disciplinary proceeding on grounds of gender
      bias will generally fall within two categories. Under the first category, the claim is that
      there is an “erroneous outcome” in plaintiff being found to have committed an offense
      and disciplined. Id. Under the second category, the plaintiff alleges “selective
      enforcement” in terms of selective initiation or severity of penalty. Id. Concerning a
      claim under the “erroneous outcome” category, the Yusuf court specified “the pleading
      burden in this regard is not heavy. For example, a complaint may allege particular
      evidentiary weaknesses behind the finding of an offense such as a motive to lie on the



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      part of a complainant or witnesses, particularized strengths of the defense, or other reason
      to doubt the veracity of the charge. A complaint may also allege particular procedural
      flaws affecting the proof.” Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994). The
      Yusuf standard remains the controlling legal standard for a gender bias claim brought
      under Title IX. See Wells v. Xavier Univ., 7 F. Supp. 3d 746 (S.D. Ohio 2014); Williams
      v. Franklin & Marshall College, 2000 WL 62316 at 2 (E.D. Pa. 2000); Doe v. Salisbury,
      123 F. Supp. 3d 748 (D. Md. 2015).
             Since Title IX was modeled after Title VI and VII of the Civil Rights Act of 1964,
      courts have frequently applied Title VII’s framework and principles to Title IX claims.
      See Weinstock v. Columbia Univ., 224 F.3d 33, 42 n. 1 (2d Cir. 2000); Murray v. N.Y.
      Univ. Coll. Of Dentistry, 57 F.3d 243, 248-49 (2d Cir. 1995) (stating Title VII standards
      should be applied in determining a university’s liability for a student’s claim of sexual
      harassment under Title IX). For instance, because evidence of discrimination would most
      likely be within the defendants’ sole possession and control at the pleading stage,
      allegations made upon information and belief are sufficient to withstand a motion to
      dismiss. See Grajales v. P.R.Ports Auth., 682 F.3d 40, 49 (1st Cir.2012) (“‘[s]moking
      gun’ proof of discrimination is rarely available ... at the pleading stage”); Menard v. CSX
      Transp., Inc., 698 F.3d 40, 44 (1st Cir. 2012) (“information and belief” is appropriate in
      pleadings, does not mean pure speculation).
             First, the Defendants seem to, erroneously, contend that this Court should
      disregard the factual allegations in the Third Amended Complaint on the grounds that
      they are insufficiently particularized and thus should be treated as speculative and
      conclusory. Contrary to the Defendants’ contentions, the 63-page Amended Complaint is
      quite particularized, but in any event, a Title IX plaintiff is not required to present
      “particularized facts” as required by a heightened pleading standard. See Blank v. Knox
      Coll., No. 14-CV-1386, 2015 WL 328602 (C.D. Ill. 2015). It is generally accepted that,
      in the discrimination context, a court “cannot hold plaintiffs to a standard that would
      effectively require them, prediscovery, to plead evidence.” Cooperman v. Individual Inc.,
      171 F.3d 43, 48-9 (1st Cir. 1999)) quoting Shaw v. Digital, 82 F.3d 1194, 1225 (1st
      Cir.1996); Swierkiewicz v. Sorema N. A., 534 U.S. 506, 511 (2002) (“[w]hen a federal
      court reviews the sufficiency of a complaint…its task is necessarily a limited one. The



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      issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled
      to offer evidence to support the claims”).
             Instead, a court must determine whether a claim has facial plausibility -- that is,
      “when the plaintiff pleads factual content that allows the court to draw the reasonable
      inference that the defendant is liable for the misconduct alleged.” Blank v. Knox Coll.,
      No. 14-CV-1386, 2015 WL 328602, at 2 (C.D. Ill. 2015) Moreover, “Iqbal does not
      require that the inference of discriminatory intent supported by the pleaded facts be the
      most plausible explanation of the defendant’s conduct.” Doe v. Columbia, No. 15-1536,
      2016 WL 4056034 at 8 (2d Cir. July 29, 2016). Adopting the legal principles from Title
      VII cases, Judge Leval clarified the pleading standards for a Title IX claim at the motion
      to dismiss stage in Doe v. Columbia as follows:
             “[a] complaint under Title IX, alleging that the plaintiff was subjected to
             discrimination on account of sex in the imposition of university discipline,
             is sufficient with respect to the element of discriminatory intent, like a
             complaint under Title VII, if it pleads specific facts that support a minimal
             plausible inference of such discrimination.”
      Doe v. Columbia, No. 15-1536, 2016 WL 4056034 at 4 (2d Cir. July 29, 2016). Judge
      Leval’s decision follows the McDonnell-Douglas framework in which plaintiffs alleging
      employment discrimination in violation of Title VII need present only minimal evidence
      supporting an inference of discrimination in order to prevail. Extending this principle to
      the Title IX context, the Second Circuit noted: “[w]hen the evidence substantially favors
      one party’s version of a disputed matter, but an evaluator forms a conclusion in favor of
      the other side…it is plausible to infer…that the evaluator has been influenced by bias.”
      Doe v. Columbia, No. 15-1536, 2016 WL 4056034 at 8 (2d Cir. July 29, 2016).
      Interestingly, Columbia was subsequently overturned on appeal. Doe v. Columbia Univ.,
      831 F.3d 46, 2016 U.S. App. LEXIS 13773. The 2nd Circuit of Appeals found “A
      complaint under Title IX, alleging that plaintiff was subjected to discrimination on
      account of sex in the imposition of university discipline, was sufficient with respect to the
      element of discriminatory intent if it pled specific facts that supported a minimal
      plausible inference of such discrimination; student's complaint pled sufficient specific
      facts giving support to a plausible inference of sex discrimination to survive a motion to



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      dismiss, if Title IX's other requirements were met, because the complaint alleged that the
      university's hearing panel, its dean, and its Title IX investigator, were all motivated in
      their actions by pro-female, anti-male bias.” JIA directly attributes the deficiencies in
      University’s investigation process to his gender by demonstrating how a reasonable
      review of the evidence could not have led to a finding of responsibility.
             Second, the Defendants fail to recognize that in Twombly and Iqbal, the Supreme
      Court does not just state general rules governing motions to dismiss and pronounce a
      complaint conclusory or not, but rather carefully applies those rules to the specifics of the
      claims and pleaded facts in a context specific analysis. There is no invitation to ignore
      pleaded facts.
             B. JIA’s Sufficiently Pleads An Erroneous Outcome Claim.
             JIA’s “erroneous outcome” claim of intentional sex discrimination arises from the
      totality of the circumstances. Doe v. Washington and Lee University, No. 6:14-cv-00052,
      2015 WL 4647996 *10 (W.D. Va. Aug. 5, 2015) (“Given the totality of the
      circumstances, including the flaws in the proceedings and statements made by W&L
      officials, Plaintiff has plausibly established a causal link between his expulsion and
      gender bias”).
             Those circumstances include: (1) CAMERON was in a consensual sexual
      relationship with JIA, who sex with him the morning after the alleged incident and few
      more times after that, who brought him cookies after the alleged assault and only reported
      the alleged sexual assault a week later after he didn’t invite her to a party he was having.
      (2) CAMERON provided no witnesses with first hand knowledge of the alleged assault.
      CAMERON did not contest the fact that she was the aggressor in asking for sex the night
      of the alleged assault. JIA provided witness statements, text messages, and other
      documentation to support his innocence (3) a biased, prosecutorial minded investigation
      that failed to keep the roles of prosecutor, witness, and judge separate as required by due
      process, Tumey v. State of Ohio, 273 U.S. 510, 534 (1927); (4) a badly flawed,
      Kafkaesque, railroading procedural process that resulted in the disregard of critical facts
      and exculpatory information which would have altered the finding against JIA as a male
      accused of misconduct, Doe v. Washington and Lee University, supra (procedural flaws
      reflecting a practice of railroading males supportive of Title IX “erroneous outcome”



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      case), Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980) (due process matters is so that
      cases are not decided “on the basis of an erroneous or distorted conception of the law or
      the facts”); (iv) the manipulation of the preponderance standard reflecting the failure to
      shave a burden of proof as required by due process, Tumey v. State of Ohio, supra
      (having a burden of proof is a requirement of due process); and (v) the broader context,
      atmosphere and general sentiment at the university concerning sexual misconduct
      allegations at the time of the relevant proceeding to infer a plausible bias against Plaintiff,
      Doe v. Columbia, No. 15-1536, 2016 WL 4056034 (2d Cir. July 29, 2016).
             The allegations of the Amended Complaint set forth University’s discriminatory
      conduct on the basis of JIA’s male gender. A cause of action for an erroneous outcome
      case of intentional sex discrimination in violation of Title IX is pleaded:
             The UNIVERSITY, upon pressure from governmental agencies such as
      OCR/DOE, took unlawful and gender biased disciplinary actions against JIA. Evidence
      of these unlawful and/or gender biased actions include, but is not limited to, the
      UNIVERSITY’s pattern and practice of taking unlawful disciplinary actions against male
      students such as JIA, without allowing for constitutional due process as mandated by title
      IX. ¶ 15 Based on the information detailed in this Complaint (and) upon information and
      belief, UNIVERSITY’s unlawful discipline of JIA occurred in part because of
      UNIVERSITY’s biased assumptions that female students do not sexually assault their
      fellow male students.     Although, according to the University’s student handbook, a
      student cannot consent if they are drunk, in this case both JIA and CAMERON admitted
      to being drunk. According to their policy JIA and CAMERON either both violated the
      policy or the UNIVERSITY choose to go after JIA because he is a male. ¶16 In response
      to pressure from the DOE, the DOJ, and/or the White House, educational institutions
      including the UNIVERSITY are severely mishandling procedural protections afforded to
      students like JIA in sexual misconduct cases. ¶ 18 Similarly, the facts detailed in this
      Complaint prove the UNIVERSITY’s Policies explicitly and/or implicitly incorporate
      and/or embrace the Association of Title IX Administrators (ATIXA) and National Center
      for Higher Education Risk Management (NCHERM) procedures, however they are
      misinterpreting the procedures causing gender bias and severely limiting the procedural
      protections that should be afforded male and female students alike in sexual misconduct



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      cases. ¶ 19 Upon Information and belief governmental pressure to find male students
      responsible for sexual misconduct has caused UNIVERSITY to enact a gender bias
      policy and procedure with a low standard of proof, gender bias definitions, a gender bias
      investigation mechanism, a discriminatory, gender bias conduct hearing and a flawed
      process in order to keep federal funding flowing. ¶ 22 Upon information and belief, after
      years of criticism for being too lax on campus sexual violence, UNIVERSITY is relying
      on Title IX to crack down on alleged perpetrators of sexual violence and sexual
      misconduct including JIA. In the process the UNIVERSITY is blatantly discriminating
      against men, including JIA. ¶ 27 WESTAWAY founded UNIVERSITY organization
      Canes Consent. She was a member of UNIVERSITY president Shalala’s Coalition on
      Sexual Violence Prevention and Education. She taught multiple course in women’s and
      gender studies, she was the program director of UNIVERSITY Women’s Commission in
      2013. She was UNIVERSITY’s Women and Gender studies delegate at the women’s
      leadership symposium in 2013. She was the Gender Advisor during Diversity Week with
      UNIVERSITY’s Office of Multicultural Student Affairs, In 2013 She was the Women
      and Gender Studies Consultant for “CONVERGE! The Movement to End Gender
      Violence” with UNIVERSITY School of Law, 2014.               Because she was so heavily
      involved with matters relating to gender discrimination and sexual assault at
      UNIVERSITY she should have been properly trained and supervised. WESTAWAY
      was never trained by the UNIVERSITY or properly supervised, instead she was given
      free range to disseminate private and false information regarding JIA to his detriment.
      Even after WESTAWAY discovered CAMERON was lying, WESTAWAY pursued her
      crusade against JIA with even more vigor. ¶ 28 WESTAWAY with concerned faculty,
      sent a letter to President Shalala stating “ We are calling for a renewed response from the
      administration to the information that has come to light about how the university is
      handling issues of sexual assault on campus.” “A fair hearing for Angela Cameron, and
      assurance that there will not be fall out for any students, faculty, or staff who have
      supported her.” “While the issue of sexual assault is seen by many university
      administrations as a possible PR threat, inaction is just as likely to damage a university’s
      reputation.” “Angela represents many other students who have not been able to come
      forward.”   WESTAWAY was a catalyst of pressure on the UNIVERSITY to do



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      something regarding CAMERON’S alleged sexual assault. ¶ 29 UNIVERSITY policy,
      guidelines and regulations are set up to disproportionately affect the male student
      population of the UNIVERSITY community as a result of the higher incident of female
      complainants of sexual misconduct vs. male complaints of sexual misconduct. ¶ 32
      UNIVERSITY policy, guidelines and regulations effectuate a failure of due process for
      the student population, especially the male student population, in their current state
      because they are set up to encourage and facilitate the reporting of false reports of sexual
      misconduct and/or other grievances without any recourse for the falsely accused. ¶ 33
      Because of Pressure from the government, pressure from previous allegations of female
      students, pressure from the Office of Civil Rights, and pressure from WESTAWAY, the
      UNIVERSITY’s Title IX department mishandled the investigation into JIA’s case,
      intentionally prolonged the investigation, instituted a flawed process which lead to a
      contrived, gender bias, unfair hearing process against JIA.        ¶ 34 According to the
      UNIVERSITY’s policy and procedure, Title IX complaints, subsequent hearings and all
      information obtained as a result are confidential. Any information obtained during an
      investigation or hearing shall not be discussed by any parties, and faculty outside the
      confines of the conduct hearing. The UNIVERSITY and its employees are prohibited
      from disclosing such information. ¶ 66 Upon information of belief, despite this
      confidentiality policy, CAMERON and WESTAWAY disclosed confidential information
      obtained during this hearing to further the goals to make JIA the face of the college rapist
      who got away with rape the UNIVERSITY failed to deal with by permanently expelling
      him.   JIA never consented to dissemination of his private information. ¶ 67 The
      University investigator for this alleged incident was LAKE. It is the University’s policy
      to have a non-biased investigator, but they failed to adhere to their policy by appointing
      LAKE, a faculty member under pressure for mishandling two other sexual assault
      allegations from women. ¶ 72 Furthermore, during one of the meetings with LAKE and
      JIA, LAKE loudly shouted to JIA that they needed to “be more compassionate” toward
      CAMERON. ¶ 74 While in a meeting, LAKE tells JIA that it was JIA who was the one
      who had “caused the situation” without looking into JIA’s account of the night or even
      attempting to find any evidence to corroborate any statements provided. This conduct
      directly shows his bias and disregard towards anything JIA had to say or any of the



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      evidence JIA presented. ¶75 JIA explained what happened to LAKE and asked to file a
      counter complaint against CAMERON because she initiate the sex and he too was
      intoxicated. LAKE told JIA that they need to be compassionate to CAMERON. LAKE
      incorrectly informed JIA that he could not file a complaint because it would be
      considered retaliation against CAMERON. ¶ 69 UNIVERSITY’s use of this lowest
      standard possible to determine JIA violation of school policy is unreasonable and
      discriminatory. ¶70 On May 27, 2014 JIA emailed LAKE to request Stein to be invited to
      participate in person for the hearing on June 24, 2014. ¶79 On June 24, 2014 LAKE,
      failed to call Stein for hearing and instead called Gardell to be present for the June 24,
      2014 hearing even though LAKE knew Gardell would not be available for the hearing. ¶
      80 CAMERON was permitted to present a telephonic witness (Sophia) who was not
      present the night of the alleged sexual misconduct and did not have firsthand knowledge.
      The University’s Student Handbook which govern disciplinary hearings “For the
      purposes of a formal disciplinary hearing, ‘witnesses’ must be individuals who have
      firsthand knowledge of the incident in question and be able to speak to the facts of the
      case at hand.” UNIVERSITY would later justify the choice to allow Sophia to give her
      testimony by stating she had firsthand knowledge of Angela’s “emotional reaction” a
      week after the alleged sexual misconduct. UNIVERSITY would later justify the choice
      to allow Sophia to give her testimony by stating she had firsthand knowledge of Angela’s
      “emotional reaction” a week after the alleged sexual misconduct. ¶ 81 Despite JIA’S
      written requests and submissions of his witnesses to be present, JIA never received from
      the UNIVERSITY a witness list of designated witnesses for the June 24, 2014 hearing.
      Had JIA received such list, he would have been able to note that the two individuals with
      direct knowledge of the allegations (Stein and Gardell) had been prevented from
      participating in the proceedings. ¶ 83 JIA requested a three-person panel for his June 24,
      2014 hearing but only received a one-person panel, Dean Steve Priepke to make the
      decision on his responsibility of the alleged incident. LAKE was also present but sitting
      solely as the “non-biased” investigator of the incident, not part of the MDHP. ¶ 84 LAKE
      investigated the allegations and was responsible for presenting the case to one of his
      student affairs colleagues. LAKE delayed the student conduct hearing on the matter until
      June 24, 2014 when the University was not in regular session. After the regular session



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      LAKE could justify the appointment of a one-person panel and not a three-person panel
      as requested. ¶ 86 LAKE’s statements in Miami Hurricane contradict his own actions in
      JIA’s conduct hearing “We as an institution have tried to build a system that is impartial,”
      Lake said. “It wouldn’t be appropriate for us to come into the issue as prosecutors against
      one student. As investigators, we gather evidence and present it to a hearing panel. The
      hearing panel is comprised of a minimum of three representatives. There is at least one
      person representing each the student, the faculty and the staff on campus.” Further
      evidence supporting violation of due process, and gender discrimination against JIA. ¶87
      The policy provision for a one-person panel and not three is flawed and violation of due
      process by allowing one potentially bias person to determine the violations of
      UNIVERSITY policy. ¶ 88 Upon information and belief, Preipke is a professional
      colleague of LAKE and LAKE had the burden of proof to show that JIA was responsible
      for the alleged conduct. Because of Pripke’s conclusions in this case Preipke’s objectivity
      as a colleague of LAKE was compromised. ¶ 89 In September 2014, Preipke, while on
      campus, distributed a poster titled “A call to Men, ending violence against women”.
      Preipke’s distribution of a sexist poster, which falsely assumes only men to be rapists and
      only women to rape victims is evidence that he was bias and discriminatory. The poster
      and the event were approved by UNIVERSITY and held on the UNIVERSITY campus. ¶
      90 Statements LAKE made in December 4, 2014 in the Miami news article about the
      monetary impact of a negative finding from a Title IX investigation can be construed to
      suggest that his investigative approach and the charging of students was designed to
      avoid any Title IX compliance investigations, which primarily address the rights of
      complainants. ¶ 92 Statements LAKE made in University newspaper article, “‘The
      hardest part of my job is taking a step back,” “I find myself getting too connected to the
      emotions of the accused or of the victim sometimes.” Can be construed to suggest that he
      emotionally connected to CAMERON. ¶ 93 Statements CAMERON made “LAKE was a
      constant source of support throughout her hearing” “Lake is one of the few people on
      campus who is really there for students and wants them to get better,” support the earily
      assertion that his focus was on the rights of the complainants and not JIA. Evidence
      supporting LAKE failed to properly perform his duties as an objective, impartial and
      unbiased University Dean and investigator during JIA’s hearing with CAMERON. ¶ 94



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      Preipke determined that CAMERON was “more drunk” than JIA supposedly
      demonstrated by the fact that CAMERON vomited before they had sex. Priepke without
      any evidence or medical training whatsoever, came to the conclusion that CAMERON
      could not consent because she was “more drunk” than JIA. JIA was also drunk that night
      and according to the student handbook could not consent due to the fact he was drunk.
      The panel disregarded that fact and found JIA responsible for violations of the student
      handbook. JIA was treated differently because he was male. ¶ 97
      Priepke made an error in finding JIA responsible for Sexual Assault/Battery (Rape) and
      Relationship and/or Intimate partner violence. Three witnesses (Jia, Gardell, Stein)
      testified at the student conduct hearing (Gardell and Stein’s testimony was read into the
      record and confirmed by LAKE as consistent with his interviews) that it was CAMERON
      and not JIA who asked to have sex. JIA testified that he said no but participated after her
      repeated requests and her pulling him into her. CAMERON did not dispute these reports,
      she only questioned how she worded her requests and whether she really made statements
      such as “I want you to put it in me”, “I want you to fuck me” or words to that effect. ¶ 99
      LAKE failed to investigate any of CAMERON’s past relationships, including Hunter
      Bihn. ¶ 101 LAKE failed to investigate any of JIA’s past relationships. In fact, LAKE
      failed to investigate very little of JIA’s background. ¶ 102 LAKE failed to interview the
      police who refused to bring charges against JIA for the alleged sexual assault. ¶ 103 The
      preponderance of evidence clearly shows that CAMERON asked to have sex and it was
      JIA whose consent was requested. ¶104 UNIVERSITY policy does not contemplate or
      address the need for the person making the request for sex to consent. An invitation does
      not require the consent of the person doing the inviting. A person cannot file a complaint
      alleging that a person gave them what they requested. ¶ 105 UNIVERSITY policy does
      not address level sobriety necessary for student to ask to have sex with another student.
      Because CAMERON was the one seeking sexual engagement, her sobriety is not an
      issue. The only issue is JIA’s sobriety and his ability to consent to her invitation. ¶ 106
      UNIVERSITY policy does not require that both parties to sexual intercourse be sober or
      that both parties consent. It only requires that the person being asked to have sex consent
      and be able to make an intelligent, knowing, and voluntary judgment to consent. JIA was
      the party who needed to consent to CAMERON repeated request. In actuality, the



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      UNIVERSITY could have charged her under its consent policies because JIA had been
      drinking. ¶ 107 UNIVERSITY policies do not recognize diminished capacity due to the
      voluntary consumption of alcohol as a valid explanation for student’s behavior. In this
      case CAMERON’s possible diminished capacity from her voluntary use of alcohol
      cannot be used to excuse or justify her behavior namely soliciting sex from JIA. ¶ 108
      Preipke assessment of CAMERON’s sobriety is irrelevant to the facts of this case and
      cannot be used as a basis for his decision because as the party being asked to have sex,
      only JIA consent is relevant. Even if CAMERON was consuming alcohol, there was no
      evidence presented at the hearing that would preclude her from making an intelligent,
      knowing, and voluntary decision to request sex from a person with whom she had an
      ongoing sexual relationship. The fact that she became nauseous and vomited is
      insufficient to conclude she could not ask a partner for sex. ¶ 109 UNIVERSITY
      encountered a case where the women was the sexual aggressor and filed a complaint
      because her partner let her engage in sex. There is nothing in the University Code of
      Student Conduct that directly address this type of situation. In such cases, administrators
      sometimes forced to finesse their institutional policies by reinterpreting the intent of the
      policy to fit the complaint. This manipulation is sometimes referred to as Policy
      manipulation or judicial overreach, where “judicial” refers to the student judicial system.
      Essentially the charges UNIVERSITY invented for JIA was “consenting to have sex with
      a person who was drinking.” There is no policy in the University student code of conduct
      that prohibits that behavior. Therefore, UNIVERSITY misclassified CAMERON as a
      complainant, even though it was CAMERON’s actions that were the proximate cause of
      sexual intercourse. ¶ 115
             JIA’s allegations, when reviewed as a whole in the totality of the circumstances,
      describe how University made an erroneous finding of JIA being responsible for sexual
      misconduct, notwithstanding that JIA and Cameron were in consensual sexual
      relationship for months, and whose account directly conflicted with other witnesses
      account that the incident was consensual. Moreover, University applied its stated policies,
      procedures and gender-biased practices in a manner that discriminated against Plaintiff
      on the basis of his sex and led to an erroneous and adverse outcome. Specifically:




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             UNIVERSITY’s sexual assault policies attempt to redefine rape by proposing
      social rules on the conditions that might not constitute consent. Minority age, mental
      capacity, force restraint or unconsciousness, are valid grounds for charging students with
      sexual assault/battery (rape). UNIVERSITY appropriately prohibits these behaviors in
      their policies, but it doesn’t stop there. Instead, UNIVERSITY attempts to redefine rape
      (and other sexual misconduct) as “consent” outside the commonly understood social
      norms. ¶ 116 UNIVERSITY’s attempt to redefine rape (and sexual misconduct) as sex
      after drinking alcohol, is overly broad, nonsensical, and unenforceable in a college
      environment. Rape is not synonymous with diminished capacity when consenting to sex.
      ¶ 117 Because university administrators believed that CAMERON was influenced to
      some degree by alcohol when she solicited sex from JIA, they found him responsible for
      her behavior. No UNIVERSITY policy addresses the sobriety level of the person
      requesting sex. The UNIVERSITY policies only address the sobriety of the person
      giving the consent. In this case the consenting party is JIA, not CAMERON. Its not
      possible for people who ask their partners for sex can claim that they not consent to the
      sex they requested. ¶ 119 Upon information and belief, the UNIVERSITY has never
      absolved a male student of sexual misconduct because he pleaded diminished capacity.
      Yet, UNIVERSITY claimed that CAMERON cannot be held accountable for initiating
      sex because of what she reported as diminished capacity. This double standard treats
      women and men differently. ¶ 120
      Upon information and belief, the UNIVERSITY has never found a female student in
      violation of sexual misconduct for failure to obtain consent from a male who was
      intoxicated. ¶ 121 The decision by UNIVERSITY to define this behavior as sexual
      assault or rape and then find JIA responsible, shocks the conscience of a reasonable
      person. It is gender bias, unfair, unjust, and unsupported by the facts. ¶122
      UNIVERSITY demonstrated gender bias by assuming that JIA needed to gain
      CAMERON’s consent for sex despite evidence showing that she is one who asked to
      have sex. The credibility of CAMERON’s complaint and motivation was not a close call,
      it was strikingly obvious. Yet UNIVERSITY immediately assumed that as a male, JIA
      was the person that controlled the sexual engagement. ¶ 123 For the UNIVERSITY to
      assume that women do not initiate sexual intercourse, cannot be the sexual aggressors



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      during intercourse, and that men must therefore seek the permission of women even when
      women initiate sex, shows unequal treatment and gender bias. ¶ 124 By infantilizing
      women and ignoring that both men and women can initiate and agree to sex,
      UNIVERSITY is treating men and women unequally. This gender bias is evident in the
      UNIVERSITY’s policies, the application of those policies in student conduct hearing for
      sexual misconduct and in the “rape culture” programs it supports. ¶ 125 WESTAWAY
      and CAMERON used CAMERON’s false stories and other lies to target, personalize, and
      weaponize untrue stories about JIA. They worked together to JIA the face of the college
      rapist who got way with a rape that the UNIVERSITY failed to deal with by permanently
      expelling him. They used this information to highlight the dangers that males present to
      women at the UNIVERSITY and to attempt to pressure UNIVERSITY into not only
      expelling JIA, but to punish all mem more severely if accused of rape or sexual assault
      regardless of the facts or circumstances. ¶ 126 UNIVERSITY was aware of how JIA was
      being castigated by WESTAWAY and CAMERON. They knew how unfair and untrue
      the stories were how this information was being used to not only destroy JIA’s life, but
      also harm the chances of men accused of sexual assault or rape, innocent or not, from
      having impartial adjudication of those charges and a fair outcome.             Nevertheless,
      UNIVERSITY stood by and took no action to correct these injustices. They allowed the
      mischaracterization of JIA that fed the narrative that males are sexual predators. ¶ 127


                 Based on the foregoing, JIA has adequately pleaded facts demonstrating how JIA
      was discriminated against on the basis of his gender. A fair reading of the evidence
      reveals the complaint lacked any corroboration or reliability. JIA has also demonstrated
      how University’s investigation process was influenced by both internal and external
      pressures to handle sexual misconduct complaints more aggressively. Given what is
      actually alleged, JIA has presented a plausible claim for a violation of Title IX.


          III.      JIA Sufficiently Pleads Defamation, Intentional Infliction of emotional
                    distress and Invasion of Privacy against University by Respondeat
                    Superior.




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             A. Respondeat Superior

             Defendant adopts and incorporates by reference Westaway’s Motion to Dismiss,
      thus Plaintiff adopts and incorporates by reference its Response to Westaway’ Motion to
      Dismiss and will argue in more detail the elements of the above referenced cause of
      actions in that Response.
              Defendant argues that for the University to be liable for the conduct of its
      employee (Westaway) Plaintiff must allege sufficient facts to show that (1) the conduct
      was the kind the employee was employed to perform; (2) the conduct occurred during
      the working hours and at the employee’s location; and (3) the conduct was activated at
      least in part by a desire to serve the employer. See Ayers v. Wal-Mart Stores, Inc., 941 F.
      Supp. 1163, 1168 (M.D. Fla. 1996) (A case decided on Summary Judgment not a Motion
      to Dismiss) The Court in Sparks, engages in a succinct analysis of Respondeat Superior
      in the context of Title VII and the Byrd opinion which the Court in Ayers rely upon.
      Sparks v. Jay's A.C. & Refrigeration, 971 F. Supp. 1433, (M.D. 1997); Byrd v.
      Richardson-Greenshields Secur., Inc., 552 So. 2d 1099 (Fla 1989). The Court in Sparks
      concluded that the Byrd opinion does not modify the prima facie elements of respondeat
      superior liability for supplemental state claims arising out of sexual harassment
      allegations. Florida law concerning the elements of “scope of employment” still applies.
      Plaintiff must allege that defendant’s actions were committed in the scope of their
      employment. Sparks at 22. In this present case the Plaintiff alleges “At all times relevant
      to this Complaint, WESTAWAY, was an employee of the UNIVERSITY acting within
      the scope of her employment as an agent of the UNIVERSITY with the express authority
      of UNIVERSITY to act.” ¶ 45 WESTAWAY sent letters in her official capacity, ¶12,
      WESTAWAY spoke out to Miami Hurricane official student paper ¶131, article was
      published on website of Westaway as professor of Women’s Gender Studies ¶131,
      WESTAWAY conducted rallies on campus sanctioned by the UNIVERSITY in attempts
      to expel or force JIA to leave School ¶132, WESTAWAY held an event on
      UNIVERSITY’s campus to get “Justice for Angela” ¶138 Although the battery
      accusations were false, CAMERON, and WESTAWAY and the other members of
      “Canes Consent” continued for the next few weeks to claim that JIA had hurt and beat



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      ANGELA CAMERON close to unconsciousness. ¶138 WESTAWAY repeated
      CAMERON’s false and malicious claims, used CAMERON’s false reports of being
      attacked by JIA as evidence of the violence men perpetrate against women, and lent her
      credibility as a University faculty member to the vitriolic falsehoods proffered by
      CAMERON. WESTAWAY did this without regard for the veracity of CAMERON’s
      claims. ¶139 Despite having both actual and constructive knowledge of WESTAWAY’s
      conduct as an employee of the University, the UNIVERSITY did nothing to stop her
      damaging behavior directed at one of their students, JIA. ¶140 All of these allegation
      specifically alleged WESTAWAY actions were committed within the scope of her
      employment       and   UNIVERSITY        had    actual   and   construction   knowledge    of
      WESTAWAY’s conduct. “Her defamatory actions were done with the scope of her work
      at the University". ¶143
                Plaintiff relies on Casey, a case decided on the distinguishable line of precedent
      dealing with vicarious liability of municipalities for their police officers’ sexual assaults.
      Casey v. City of Miami Beach, 789 F. Supp. 2d 1318, 1320 (S.D. Fla. 2011). The court in
      Watts, held that the Court determines whether the allegations support a plausible
      inference the Defendant acted in furtherance of the City’s interest, even if his actions
      were “excessive and misguided.” Iglesia Cristiana, 783 So. 2d at 356 (3rd DCA 2001);
      see also Andersen v. United States, No. 09-60364-CIV, 2009 U.S. Dist. LEXIS 128768,
      2009 WL 6633307, at 5 (S.D. Fla. Oct. 21, 2009) (finding under the “purpose” prong, a
      count discerns whether there is a “relationship between the employee’s wrong and
      employer’s interests’)(citing Forster v. Red Top Sedan Serv., Inc., 257 So. 2d 95, 96 (Fla.
      3d DCA 1972); Columbia By The Sea, Inc., v. Petty, 157 So. 2d 190 (Fla. 2d DCA
      1963)).
                The Plaintiff alleges WESTAWAY founded UNIVERSITY organization Canes
      Consent. She was a member of UNIVERSITY president Shalala’s Coalition on Sexual
      Violence Prevention and Education. She taught multiple course in women’s and gender
      studies, she was the program director of UNIVERSITY Women’s Commission in 2013.
      She was UNIVERSITY’s Women and Gender studies delegate at the women’s leadership
      symposium in 2013.         She was the Gender Advisor during Diversity Week with
      UNIVERSITY’s Office of Multicultural Student Affairs, in 2013 She was the Women



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      and Gender Studies Consultant for “CONVERGE! The Movement to End Gender
      Violence” with UNIVERSITY School of Law, 2014. ¶ 28 WESTAWAY was never
      trained by the UNIVERSITY or properly supervised, instead she was given free range to
      disseminate private and false information regarding JIA to his detriment. Even after
      WESTAWAY discovered CAMERON was lying, WESTAWAY pursued her crusade
      against JIA with even more vigor. ¶ 28 On May 3, 2015, WESTAWAY with concerned
      faculty, sent a letter to President Shalala stating “ We are calling for a renewed response
      from the administration to the information that has come to light about how the university
      is handling issues of sexual assault on campus.” “A fair hearing for Angela Cameron, and
      assurance that there will not be fall out for any students, faculty, or staff who have
      supported her.” “While the issue of sexual assault is seen by many university
      administrations as a possible PR threat, inaction is just as likely to damage a university’s
      reputation.” “Angela represents many other students who have not been able to come
      forward.”    WESTAWAY was a catalyst of pressure on the UNIVERSITY to do
      something regarding CAMERON’S alleged sexual assault. ¶ 29 Upon information of
      belief, despite this confidentiality policy, CAMERON and WESTAWAY disclosed
      confidential information obtained during this hearing to further the goals to make JIA the
      face of the college rapist who got away with rape the UNIVERSITY failed to deal with
      by permanently expelling him. JIA never consented to dissemination of his private
      information. ¶ 29
              Even if WESTAWAY’s actions were excessive and misguided, JIA’s allegation
      support a plausible inference WESTAWAY acted in furtherance of the UNIVERSITY’s
      interests.

              B. Statute of Limitations, Privilege, and Falsity are Affirmative Defenses
              Defendant raised the Affirmative Defenses of the Statute of Limitation, Privilege
      and Falsity in its third Motion to Dismiss. Affirmative defenses are generally matters
      raised in an answer and not in a motion to dismiss. Rolle v. Cold Stone Creamery, Inc.,
      212 So. 3d 1073 (Fla. 3rd DCA 2017).           Affirmative Defenses, such as statute of
      limitations and laches, are generally matters raised in an answer and not a motion to
      dismiss. Grove Isle Ass'n v. Grove Isle Assocs., LLLP, 137 So. 3d 1081 (Fla. 3rd DCA



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      2014). An affirmative defense that was required to be asserted in the answer, and it was
      not a proper basis for granting a motion to dismiss, even where the availability of the
      defense appeared on the face of the complaint. Fletcher v. Williams, 153 So. 2d 759 (Fla.
      1st DCA 1963). Substantial truth is an affirmative defense in a defamation case. Berman
      v. Kafka, 661 Fed. Appx. 621 (Fla 11th Cir App 2006).             Qualified privilege in an
      affirmative defense in a defamation action. Schreidell v. Shoter, 500 So. 2d 228 (Fla. 3rd
      DCA 1986). Furthermore, where the evidence is disputed as to the existence or
      nonexistence of a privilege there is a mixed question of law and fact, and the fact issue is
      to be determined by the jury. Hartley & Parker, Inc. v. Copeland, 51 So.2d 789 (Fla.
      1951); see also Glickman v. Potamkin, 454 So.2d 612 (Fla. 3d DCA 1984)(in a
      defamation action, the affirmative defense of truth, good motive and qualified
      privilege present factual questions for resolution by the jury), review denied, 461 So.2d
      115 (Fla. 1985); but see Myers v. Hodges, 53 Fla. at 217, 44 So. at 364 (when the facts
      are uncontroverted, the court is to determine whether or not the publication is privileged).

                                           CONCLUSION
             As set forth in the detail above, Plaintiff, David Jia’s Complaint set forth facts that
      when taken as true, as they must be in this stage of the litigation, support each and every
      claim Plaintiff has pled against Defendant, UNIVERSITY and WESTAWAY.
      Accordingly, Plaintiff respectfully request that this court denied Defendants Third
      Motion to Dismiss.


                                                           Respectfully Submitted,
                                                           ___/s/Lonnie B. Richardson________
                                                           Lonnie B. Richardson, P.A.
                                                           Attorney for Plaintiff
                                                           Florida Bar No. 564516
                                                           690 Lincoln Road, Suite 204
                                                           Miami Beach, Florida 33139
                                                           Tel: 786-603-1323
                                                           Fax: 305-428-9539
                                                           officelonnierichardson@gmail.com

                                   CERTIFICATE OF SERVICE




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          Isicoff Ragatz        Angela Cameron, Pro se        Dwon Huggins, Esq.
      Via CM/ECF                Via U.S. Mail/or e-Mail       Via U.S. Mail and/or e-
      601 Brickell Key Drive,   Crystal Lakes Apartments      Mail
      Suite 750                 2601 NW 207th St.             PO BOX 821802
      Miami, FL 33131           Apt #207                      South Florida, Florida 33082
      305-373-3232              Miami Gardens FL 33056        dwonhuggins@yahoo.com
      Fax: 305-373-3233         angela.cameron1223@yahoo.com Counsel for Defendant
      Counsel for the                                         Katherine Westaway
      University of Miami and
      William Tony Lake




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